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        IN THE UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF FLORIDA
                     ORLANDO DIVISION

LEGACY ENTERTAINMENT & ARTS
FOUNDATION, INC d/b/a LAWYERS
MATTER TASK FORCE, et al.

      Plaintiffs,

v.                                             Case No.: 6:21-CV-00698

RONALD DION DESANTIS, in his
Official Capacity as Governor of the
State of Florida, et al.

      Defendants.
______________________________________/

             ATTORNEY GENERAL’S MOTION TO DISMISS AND
              INCORPORATED MEMORANDUM OF LAW

      Pursuant to Rule 12(b)(1) and 12(b)(6), Defendant, the Attorney General

of Florida, moves to dismiss Plaintiffs’ Amended Complaint. Doc. 5.

                              BACKGROUND

      Every American has the right to peacefully demonstrate. No person,

however, has the right to engage in violence or destroy property. Around the

summer of 2020, protests broke out across the nation, and many Americans

exercised their First Amendment rights to have their voices heard. Others,

however, attacked innocent police officers and civilians and destroyed

property, including government buildings and small businesses.



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      On April 19, 2021, the Governor of Florida signed House Bill 1 (HB 1).

Two days later, Plaintiffs commenced this action. Doc. 1. They sue the

Governor, the Attorney General, and Sheriff John Mina, asserting both facial

and as-applied challenges and alleging that the bill violates their First

Amendment right to free speech (Count 1); the Eighth Amendment’s

prohibition on excessive bail and cruel and unusual punishment (Count II);

and their Fourteenth Amendment right to due process (Count III).

      HB 1 amends various criminal laws, including Florida’s laws against

riots and affrays—laws that have existed for decades and that have never been

struck down as unconstitutional. HB 1’s amendments to the laws—which

Plaintiffs focus on in their amended complaint—are straightforward:




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Doc. 1-1.

        The amended complaint should be dismissed. The Attorney General is

not a proper defendant under Ex Parte Young, Plaintiffs have failed to

establish any of the requirements of Article III standing, and the claims fail as

a matter of law.

                         MEMORANDUM OF LAW

                                 ARGUMENT

   I.       Eleventh Amendment Sovereign Immunity Bars Suit Against
            the Attorney General

        “Pursuant to the Eleventh Amendment, a state may not be sued in

federal court unless it waives its sovereign immunity or its immunity is

abrogated by an act of Congress under section 5 of the Fourteenth

Amendment.” Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011). But under


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Ex Parte Young, 209 U.S. 123, 168 (1908), certain suits alleging violations of

the federal constitution, filed against a state official in his official capacity for

injunctive relief on a prospective basis, are not considered to be suits against

the state that violate the Eleventh Amendment. Ex Parte Young, 209 U.S. 123

(1908).

      A state official is subject to suit in his official capacity only “when his

office imbues him with the responsibility to enforce the law or laws at issue in

the suit.” Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011); see Wusiya v.

City of Miami Beach, 614 F. App’x 389, 393 (11th Cir. 2015). “Federal courts

have refused to apply Ex [P]arte Young where the officer who is charged has

no authority to enforce the challenged statute.” Summit Med. Assocs., P.C. v.

Pryor, 180 F.3d 1326, 1342 (11th Cir. 1999). Furthermore, the enforcement

authority must be specific. The official’s “general executive power” is “not a

basis for jurisdiction in most circumstances.” Women’s Emergency Network v.

Bush, 323 F.3d 937, 949 (11th Cir. 2003); see ACLU v. Florida Bar, 999 F.2d

1486,1490 (11th Cir. 1993) (Florida Bar was proper defendant because of its

“authority to seek sanctions” for violations of ethics rules).

      As to suits against a state attorney general, the Supreme Court has

explained that if state statutes could be challenged by suing the attorney

general on the theory that she “might represent the state in litigation involving

the enforcement of its statutes,” it would eviscerate “the fundamental principle

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that [States] cannot, without their assent, be brought into any court at the suit

of private persons.” Ex Parte Young, 209 U.S. at 157.

      Plaintiffs allege that suit is proper against the Attorney General because

she is the “chief law enforcement officer and representative of the State in ‘all

suits or prosecutions, civil of criminal or in Empowerment,’ brought or opposed

by the State.” Doc. 5 at ¶ 6.1

      The Attorney General is the “chief state legal officer.” Art. IV, § 4(b). She

has the authority to intervene in cases “in which the state may be a party, or

in anywise interested.” Fla. Stat. § 16.01(4). However, this authority is

discretionary. See Mallory v. Harkness, 923 F. Supp 1546, 1553 (S.D. Fla. 1996)

(“It has long been recognized that the [Attorney General] is not a necessary

party each time the constitutionality of a statute is drawn into question… The

[Attorney General] is thus not affirmatively required to intervene every time

an entity challenges the constitutionality of a statute.” (citations omitted)),

aff’d without opinion, 109 F.3d 771 (11th Cir. 1997). In fact, forcing the

Attorney General to defend the constitutionality of a statute would effectively

eliminate her unreviewable discretion to intervene. See State ex.rel. Landis v.

S.H. Kress & Co., 155 So. 823, 826 (Fla. 1934).




1 Although Plaintiffs generally cite to Chapter 16, Florida Statutes, it is
unclear which specific provision of Chapter 16 they rely on in contending that
the Attorney General is a proper defendant.
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      The Attorney General’s discretionary authority is a general executive

power and does not constitute a sufficient connection to make her a proper

defendant. See Women’s Emergency Network, 323 F.3d at 949-50; see Osterback

v. Scott, 782 F. App’x 856, 859 (11th Cir. 2019) (holding that Florida Governor’s

“general authority to enforce Florida’s laws” did not make him a proper party).

      HB 1 also does not provide the Attorney General with specific

enforcement authority. While HB 1 touches upon several criminal statutes, the

Attorney General does not have the general authority to prosecute criminal

cases. Under Florida’s Constitution, it is the locally elected state attorney—not

the Attorney General—who is “the prosecuting officer of all trials courts in

[each judicial] circuit.” Art V., s. 17, Fla. Const.; State v. Barritt, 531 So. 2d

338, 342 (Fla. 1988) (“[T]he state attorney has complete discretion in deciding

whether and how to prosecute.”); see also, Roberts v. Bondi, 2018 WL 3997979,

at *2 (M.D. Fla. Aug. 21, 2018) (rejecting argument that Attorney General is a

proper party simply because “the challenged law is a criminal statute”).

      Nor does the Attorney General’s authority to appoint Florida’s Statewide

Prosecutor make her a proper defendant. Florida statutes assign the Statewide

Prosecutor jurisdiction over certain statutorily enumerated offenses that are

“occurring, or [have] occurred” in multiple state judicial circuits “as part of a

related transaction” or in connection “with an organized criminal conspiracy.”

§ 16.56(1)(a), Fla. Stat. But none of the crimes in HB 1, with the exception of

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burglary, fall within the prosecutorial authority of the Statewide Prosecutor,

and Plaintiffs have raised no specific challenge to the burglary statute, nor

have they alleged any risk of punishment under the statute, much less that

they face a risk of prosecution by the Statewide Prosecutor for engaging in

“related transactions” or “an organized criminal conspiracy” across judicial

circuits. See Fla. Stat. § 16.56(1)(a).

          In short, any connection between the Attorney General and enforcement

of HB 1 is so tenuous that an injunction against the Attorney General would

not remedy any injury alleged by Plaintiffs. She should be dismissed. 2

    II.     There is no case or controversy

          Article III of the United States Constitution provides that the court’s

jurisdiction is limited to actual cases and controversies. Elend v. Basham, 471

F.3d 1199, 1204-05 (11th Cir. 2006). In order to meet this requirement, the

plaintiff must show that he has standing and that the case is ripe for review.

Id. In pre-enforcement challenges, the standing and ripeness inquiries tend to



2 If this Court were to dismiss the Attorney General but otherwise permit
Plaintiffs’ claims to proceed, the Attorney General would seek leave to
intervene on behalf of the State of Florida to defend the constitutionality of HB
1. See, e.g., 28 U.S.C. § 2403(b). Although the Attorney General is not a proper
defendant, she has discretion, as Florida’s chief legal officer, to defend the
state’s laws as an intervenor. She desires and intends to offer a robust defense
of the statute, but because the Ex Parte Young analysis is similar to the
standing analysis, see Section II.A.ii.2, the Attorney General’s status as an
improper defendant is not waivable.

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converge. Id. at 1205. Here, both standing and ripeness deficiencies require

dismissal.

        A. Plaintiffs lack standing

        To establish standing, the Plaintiff must show (1) injury in fact that is

(a) concrete and particularized and (b) actual or imminent; (2) a causal

connection between that injury and the complained-of conduct; and (3)

redressability, meaning a favorable decision would eliminate the injury. See

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). Plaintiffs have

established neither injury, traceability, nor redressability.

   i.      Threshold Matter: Organizational Plaintiffs Lack Standing

        Organizations can establish standing to sue either on their own behalf

or on behalf of their members. “[A]n organization has standing to sue on its

own behalf if the defendant’s illegal acts impair its ability to engage in its

projects by forcing the organization to divert resources to counteract those

illegal acts.” Georgia Latino All. for Hum. Rts. v. Governor of Georgia, 691 F.3d

1250, 1260 (11th Cir. 2012). In order to establish associational standing to sue

on behalf of its members, the organization must show that their members

would have standing to sue in their own right. Jacobson v. Fla. Sec’y of State,

974 F.3d 1236, 1248 (11th Cir. 2020). The organizational Plaintiffs have

established neither.



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         First, the challenged provisions of HB 1 do not apply to organizations—

they apply to individuals. As such, HB 1 does not, and cannot, inflict any

legally cognizable injury on them. The organizational Plaintiffs also have not

shown any diversion of resources as a result of HB 1. Rather, they allege that

they “organized, encouraged, and funded peaceful demonstrations” and that as

part of their preparation they “expended personal private financial resources.”

Doc. 5 at ¶¶ 61–62. They have not alleged that these expenditures were caused

by HB 1, nor have they “explained what activities” the expenditures were

“divert[ed] . . . away from.” See Jacobson, 974 F.3d at 1250. In fact, the

expenditures are seemingly a normal part of the organizations’ activities. See

Ass'n of Cmty. Organizations for Reform Now v. Fowler, 178 F.3d 350, 359 (5th

Cir. 1999) (expenditures must be caused by the alleged illegal action rather

than the normal operations of the organization).

         Second, the organizational plaintiffs do not have associational standing.

There are no allegations that the organizations even have members. This is

fatal to any argument for associational standing. Jacobson, 974 F.3d at 1249.

Even if the organizational Plaintiffs had members, as discussed below, the

members would not have standing to sue in their own right.

   ii.      Plaintiffs Lack Standing as to All Claims

         Plaintiffs lack standing as to all three counts. Plaintiffs’ asserted injuries

are entirely hypothetical and speculative and any injuries are not traceable to

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 or redressable by the Attorney General.

       1. In a pre-enforcement challenge to avoid future injuries, the plaintiff

 must show a “realistic danger of sustaining injury as a result of the statute’s

 operations or enforcement.” Socialist Workers Party v. Leahy, 145 F.3d 1240,

 1245 (11th Cir. 1998) (quoting Am. Civil Liberties Union. The Fla. Bar (ACLU),

 999 F.2d 1486, 1492, (11th Cir. 1993)). A plaintiff can meet this standard by

 showing 1) he was threatened with application of the statute; 2) application is

 likely; or 3) there is a credible threat of application. Id.

       a. Plaintiffs have not alleged that they have been threatened with

 prosecution under HB 1. Rather, their First Amendment allegations are

 premised on the notion that HB 1 chilled their speech due to the threat of

 prosecution and civil liability. Specifically, Plaintiffs allege that they “intended

 to exercise their right to assemble and peacefully demonstrate” on April 24 and

 May 15 but that HB 1 “effectively barred them from” doing so. Doc. 5 at ¶¶29-

 31, 60; id. at ¶¶ 31, 40 (alleging that they “fear prosecution” and “criminal and

 civil liability” for engaging in “peaceful demonstrations”). For several reasons,

 that is not sufficient to establish that Plaintiffs face a likely, or credible, threat

 of prosecution.

       First, Plaintiffs cannot establish injury because engaging in a peaceful

 demonstration is not “arguably forbidden” by HB 1. See Harrell v. The Fla. Bar,

 608 F.3d 1241, 1260 (11th Cir. 2010) (holding that “[i]n the context of . . . First

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 Amendment claims,” a plaintiff must show that he seeks to engage in

 expression “that is at least arguably forbidden by the pertinent law”). Nothing

 in HB 1 penalizes peaceful protest—indeed, HB 1 specifically provides that it

 “does not prohibit constitutionally protected activity such as a peaceful

 protest.” Doc. 1-1 at 33.

       Pursuant to section, 870.01(2), a person commits a riot when he “willfully

 participates in a violent public disturbance involving an assembly of three or

 more persons, acting with a common intent to assist each other in violent and

 disorderly conduct.” Fla. Stat. §870.01(2) (emphasis added). Absent Plaintiffs’

 willful participation in violence or acting with common intent to engage in

 violent and disorderly conduct, their peaceful expression is not arguably

 forbidden. The crime of mob intimidation similarly includes a “common intent”

 requirement. Fla. Stat. §784.0495(1). Given the definitions of these crimes as

 compared to Plaintiffs stated intent to demonstrate peacefully, there is not a

 credible threat that Plaintiffs will be prosecuted. This is particularly true for

 the plaintiff organizations who are not subject to civil or criminal penalties.

       Second, Plaintiffs subjective fears are not objectively reasonable and are

 based entirely on hypothetical and speculative injury. Plaintiffs presume that

 while they are peacefully protesting, a riot as defined in section 870.01 will

 occur, that they will be present, that law enforcement will misunderstand or

 arbitrarily apply the law and they will be arrested. That is too much

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 speculation to support standing. The court must speculate not only as to future

 events that may or may not happen but also as to the actions of independent

 third parties (both law enforcement and other protesters). See Hallendale Pro.

 Fire Fighters Loc. 2238 v. City of Hallandale, 911 F.2d 756, 762 (11th Cir.

 1991); Clapper v. Amnesty Int’l, 568 U.S. 398, 413 (2013) (“[W]e have been

 reluctant to endorse standing theories that require guesswork as to how

 independent decisionmakers will exercise their judgment.”).

       Importantly, Plaintiffs’ mere assertion that HB 1 has a chilling effect is

 not sufficient to demonstrate an injury. They must show that their fear is

 objectively reasonable, and they cannot do so here. See Pittman v Cole, 267

 F.3d 1269, 1284 (11th Cir. 2001); Laird v. Tatum, 408 U.S. 1, 1225-36 (1972).

       Finally, Plaintiffs recently stated in a pleading (their Motion for

 Preliminary Injunction and Temporary Restraining Order) that they “held a

 demonstration on or about May 15, 2021 and plan to hold another rally…. on

 June 19, 2021,” demonstrating that their rights have not in fact been chilled

 by HB 1. Doc. 14 at 6.

       b. Nor can Plaintiffs establish that they are injured because, in their

 view, HB 1 is vague. They contend that HB1 “cannot be enforced in a consistent

 manner and invite[s] arbitrary and discriminatory enforcement set to deter

 constitutionally protected speech.” Doc. 5 at ¶ 70. “But mere fear of

 unconstitutional action alone . . . is too speculative an injury to confer

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 standing.” See Club Madonna, Inc. v. City of Miami Beach, 924 F.3d 1370,

 1381–82 (11th Cir. 2019) (“The Club might also suggest that the Ordinance

 contains vague language that causes it to fear that the City will enforce it

 arbitrarily, and is thereby injured. But mere fear of unconstitutional action

 alone on the part of the City is too speculative an injury to confer standing to

 the Club.”).

       c. Lastly, in regards to the Eighth Amendment claims, the organizations

 themselves cannot show injury-in-fact as they are not subject to arrest or

 conviction. And Plaintiffs have made no allegations that the individual

 Plaintiff or any organizational members have been arrested or convicted. Any

 future arrest of the individual Plaintiff or any members while peacefully

 protesting is too speculative to provide standing.

       2. Plaintiffs have also failed to establish traceability or redressability as

 to the Attorney General. Article III standing requires an even more rigorous

 analysis than Ex Parte Young. See Jacobson, 974 F.3d at 1256. Therefore,

 because Plaintiffs cannot establish that the Attorney General is a proper

 defendant under Ex Parte Young, they cannot establish traceability or

 redressability. Plaintiffs’ purported injury is not “fairly traceable” to the

 Attorney General because she has no enforcement authority over the laws that

 they challenge, and an injunction against her therefore will not redress the

 injury. See id.; Lewis v. Governor of Ala., 944 F.3d 1287 (11th Cir. 2019) (en

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 banc) (rejecting the plaintiffs’ argument that they had standing to sue the

 Alabama Attorney General because he has broad authority to act in the public

 interest).

       B. The Action is Not Ripe

       The ripeness doctrine keeps courts from deciding cases prematurely.

 Beaulieu v. City of Alabaster, 454 F.3d 1219, 1227 (11th Cir. 2006). It differs

 from standing as it relates to the timing of the suit as opposed to whether the

 party can bring suit. Elend, 471 F.3d at 1202. In determining whether a claim

 is ripe, a court evaluates the fitness of the issues for judicial review and the

 hardship to the parties of withholding consideration. Pittman, 267 F.3d at

 1288. Both factors militate in favor of concluding that this action is not ripe.

       First, “claims are less likely to be considered ‘fit’ for adjudication when

 they venture beyond purely legal issues or when they require ‘speculation

 about contingent future events.’” Id. at 1278; see also Texas v. United States,

 523 U.S. 568, 580-81 (1985) (A claim is not ripe if it rests upon “contingent

 future events that may not occur as anticipated or indeed may not occur at

 all.”); Club Madonna, 924 F.3d at 1381 (“Eighth Amendment challenges are

 generally not ripe until the imposition, or immediately impending imposition,

 of a challenged punishment or fine.”). And here, all of Plaintiffs’ claims are

 based entirely on speculation and hypothetical scenarios, such as them being

 arrested or imprisoned for peacefully protesting.

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       Second, “[h]ardship can sometimes be established if a plaintiff

 demonstrates that he would have to choose between violating an allegedly

 unconstitutional statute or regulation and risking criminal or severe civil

 sanctions.” Elend, 471 F.3d at 1212.      In this circumstance, “plaintiffs must

 still demonstrate a ‘credible threat of prosecution.’” Id. Plaintiffs cannot do so.

 And they do not have to choose between engaging in their expressive conduct

 and risking penalties under HB 1 as their intended expressive conduct is not

 reasonably within the scope of conduct prohibited by HB 1.

    III.   Plaintiffs Failed to State a Claim

       For all of their claims, Plaintiffs have failed to provide a short and plain

 statement showing that they are entitled to relief. Fed. R. Civ. P. 8 (a)(2). They

 allege that they are bringing both facial and as-applied challenges to HB 1. But

 it is clear that they have brought only a facial challenge, as demonstrated by

 the sweeping relief they seek. Thus, irrespective of their allegations, they

 should be held to the standard of a facial challenge. See Am. Fed’n of State, Cty.

 & Mun. Employees Council 79 v. Scott, 717 F.3d 851, 863 (11th Cir. 2013)

 (explaining that “the label is not what matters,” because when plaintiffs seek

 “an injunction [that] reach[es] beyond the particular circumstances of these

 plaintiffs,” they “must . . . satisfy [the] standards for a facial challenge to the

 extent of that reach”).



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    A. Plaintiffs Failed to State of Claim Under the First Amendment

       Plaintiffs assert that HB 1 violates the First Amendment because it

 imposes content-based restrictions, defies Brandenburg, and is overly broad.

 All three arguments fail.

       1. Plaintiffs make bald assertions that HB 1 consists of “content-based

 regulations that prohibit … speech meant to accomplish a political goal.” Doc

 5 at ¶ 49. But they fail to cite any specific provision of HB 1 to support this

 contention—because no such provision imposes content-based regulations. HB

 1 imposes no penalties on those who simply express a viewpoint or engage in

 political speech. Rather, it penalizes riots and other violent conduct—conduct

 that Florida has penalized for decades. See State v. Beasley, 317 So. 2d 750,

 752 (Fla. 1975) (rejecting constitutional challenge to Florida’s riot statute,

 which HB 1 amends).

       2. Plaintiffs’ assertion that HB 1 suppresses speech protected by

 Brandenburg v. Ohio is without merit. 385 U.S. 444 (1969). The Supreme Court

 in Brandenburg found the state may not “forbid or proscribe advocacy of the

 use of force or of law violation except where such advocacy is directed to

 inciting or producing imminent lawless action and is likely to incite or produce

 such action.” Id. at 447. The court differentiated between “mere abstract

 teachings of doctrines” and “preparing a group for violent action” and found

 that “a statute which fails to draw this distinction impermissibly intrudes upon

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 the freedoms guaranteed by the First and Fourteenth Amendments. Id. at 448.

       HB 1 does not prohibit the mere teachings of abstract actions—it

 prohibits only lawless action, violence, and action directed at producing

 imminent lawless action. 3 In other words, it prohibits conduct that does not

 enjoy First Amendment protection and is subject to restriction such as

 advocacy intended and likely to incite imminent lawless action, fighting words,

 true threats, and speech presenting grave and imminent threat that the

 government has the power to prevent. See Burroughs v. Corey, 92 F. Supp.3d

 1201, 1208 (11th Cir. 2015); Virginia v. Black, 538 U.S. 343, 359 (2003);

       3. Finally, HB 1 is not facially invalid. Under the overbreadth doctrine

 a statute is facially invalid if it prohibits a substantial amount of protected

 speech. United States v. Williams, 553 U.S. 285, 292 (2008). When determining

 whether a statute is overbroad, the court must construe the statute and

 determine whether the statute “criminalizes a substantial amount of protected


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   See e.g. Doc. 1-1 at 31 (person commits a riot when they engage in violent or
 disorderly conduct that results in injury or damage to property or imminent
 danger of injury to person or property); Id. (person commits an aggravated riot
 if they cause great bodily harm to someone who is not participating in the riot;
 causes property damage; displays, uses, threatens to use, or attempts to use a
 deadly weapon; or by force or threat of force endangers the safe movement of a
 vehicle on a public street, highway or road); Doc 1-1 at 32 (inciting a riot
 requires a resultant riot or imminent danger of a riot); Id. (aggravated inciting
 a riot requires greatly bodily harm, property damage, provision of a deadly
 weapon with intent to use the weapon in a riot for an unlawful purpose); Doc
 1-1 at 30 (crime of cyber intimidation requires speech that incites violence or
 threatens or harasses someone placing them in reasonable fear of bodily harm).
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 expressive activity.” Id. HB 1, however, is limited to proscribing conduct that

 falls outside First Amendment protection. It does not criminalize any protected

 activity, much less a substantial amount.

    B. Plaintiffs Failed to State a Claim Under the Eighth Amendment

       Plaintiffs’ Eighth Amendment claims require a plaintiff to be subject to

 arrest, and a claim for cruel and unusual punishment further requires the

 plaintiff to be convicted of a crime. See Ingraham v. Wright, 430 U.S. 651, 664

 (1977). The organizations themselves are not subject to arrest or conviction

 and there are no allegations that any members or individual Plaintiffs have

 been arrested or convicted under the provisions of HB 1.

       Additionally, HB 1 simply specifies a procedure for bail and imposes or

 modifies penalties for the crimes addressed therein, neither of which is a

 violation of the Eighth Amendment. Indeed, the Eighth Amendment “says

 nothing about whether bail shall” even “be available”; rather, it “provide[s]

 that bail shall not be excessive in those cases where it is proper to grant bail.”

 Walker v. City of Calhoun, 901 F.3d 1245, 1258 (11th Cir. 2018) (quoting U.S.

 v. Salerno, 481 U.S. 739, 752 (1987) (quotations omitted). And Plaintiffs make

 no allegation that they have been subject to excessive bail.

       Based on the foregoing, Count II fails as a matter of law.




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    C. Plaintiffs Failed to State a Claim Under the Fourteenth
       Amendment

       A statute is void for vagueness if it (1) “fails to provide people of ordinary

 intelligence a reasonable opportunity to understand what conduct it prohibits”

 and (2) “authorizes or even encourages arbitrary and discriminatory

 enforcement.” Wollschlaeger v. Governor, 848 F.3d 1293, 1320 (11th Cir. 2017).

 A statute should inform the regulated parties of what is required of them and

 provide guidance to those who enforce the law so they do not act in an arbitrary

 or discriminatory manner. Id.; City of Chicago v. Morales, 527 U.S. 41, 60

 (1999) (the legislature must establish minimum guidelines to govern law

 enforcement).

       Importantly, in a facial challenge, a law only violates due process if it is

 impermissibly vague in all applications. A statute is facially vague when it is

 “utterly devoid of a standard of conduct so that it ‘simply has no core’ and

 cannot be validly applied to any conduct. Id. (quoting United States v. Powell,

 423 U.S. 87, 92 (1975)).

       While Plaintiffs assert a vagueness challenge, they fail to identify any

 specific language in HB 1 that is “vague.” Instead, they allege that HB 1

 generally fails to give notice about what conduct constitutes engaging in a

 “riot” or acting in “furtherance of a riot” and that because of this, HB 1 invites

 arbitrary and discriminatory enforcement. Doc. 5 at ¶ 70.


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       But a review of the history and prior application of the riot statute

 dispels any arguments as to vagueness of these terms. Prior to HB 1, the

 common law definition of “riot” was utilized when applying section 870.01(2).

 A “riot” was defined as a “tumultuous disturbance of the peace by three or more

 persons, assembled and acting with a common intent, either in executing a

 lawful private enterprise in a violent and turbulent manner, to the terror of

 the people, or in executing an unlawful enterprise in a violent and turbulent

 manner.” Beasley, 317 So. 2d at 752.

       The courts have repeatedly applied this common law definition without

 any issue of vagueness. See, e.g., City of Daytona Beach v. Brown, 273 So. 2d

 124 (Fla. 1st DCA 1973); Bayes v. State, 454 So.2d 703 (1st DCA 1984); Mack v.

 State, 463 So.2d 344 (2d DCA 1985). And the Florida Supreme Court, in

 Beasley, found that section 870.01(2) was not unconstitutionally vague. The

 court stated, “[w]e believe that citizens understand the term “riot” to mean a

 group acting defiantly and unlawfully in a violent manner.” Beasley, 317 So.

 2d at 753.

       HB 1’s changes to the term “riot” does not render section 870.01(2)

 impermissibly vague. HB 1 does not remove the necessity to act in a violent

 manner. It reiterates the necessary component of violence by replacing the

 term “tumultuous disturbance” with “violent public disturbance.” It further

 reinforces that being in the mere presence of a riot is not sufficient—the person

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 must “willfully participate” in the “violent public disturbance.” Plaintiffs offer

 no explanation as to how this more specific definition fails to provide them with

 a reasonable opportunity to understand what the law prohibits.

       Plaintiffs’ allegations that the phrase “furtherance of a riot” is void for

 vagueness is also without merit. The use of the phrase “in furtherance of” is

 often used in the criminal context and has not posed any trouble for courts.

 See, e.g., Fla. Stat. § 782.04(1)(a)(2)(r) (defining murder as the unlawful killing

 of a human being when committed by a person perpetrating or attempting to

 perpetrate a felony that is an act of terrorism or is in furtherance of an act of

 terrorism); Fla. Stat. § 810.061(2); Jacobs v. State, 396 So. 2d 713, 716 (Fla.

 1981).

                                 CONCLUSION

       Based on the foregoing, Plaintiffs Amended Complaint should be

 dismissed.

                                      Respectfully submitted,
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                                      ATTORNEY GENERAL

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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed

 with the Court’s CM/ECF system, which provides notice to all parties, on this

 1st day of June, 2021.

                                    /s/ Anita Patel
                                    Anita J. Patel, Esq.




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